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                         IN THE
             UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT


                         Docket No. 22-1864


            CONSUMER FINANCIAL PROTECTION BUREAU,
                                         Plaintiff-Appellee

                                    v.

    NATIONAL COLLEGIATE MASTER STUDENT LOAN TRUST, et al.,
                                         Defendants-Appellants.

On Appeal From: The United States District Court for the District of
                            Delaware
                  (Docket No. 1:17-cv-1323-SB)
 Sat Below: The Honorable Stephanos Bibas, United States Circuit
                  Judge, sitting by designation


             BRIEF OF STRUCTURED FINANCE
            ASSOCIATION AS AMICUS CURIAE IN
              SUPPORT OF APPELLANTS AND
                       REVERSAL


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                       DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, counsel for

amicus curiae certifies that the Structured Finance Association is a

nonprofit corporation. It has no parent corporation, and no publicly held

corporation owns more than 10 percent of its stock.




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       STATEMENT OF INTEREST AS AMICUS CURIAE1

     Structured Finance Association is a member-based trade industry

advocacy group focused on improving and strengthening the broader

structured finance and securitization market to help its members and

public policy makers responsibly grow credit availability for consumers

and businesses across all communities. With over 370 members, SFA

represents all stakeholders in the securitization market, including

consumer and commercial lenders, institutional investors, financial

intermediaries, law firms, accounting firms, technology firms, rating

agencies, servicers, and trustees. SFA was established with the core

mission of supporting a robust and liquid securitization market,

recognizing that securitization is an essential source of core funding for

the real economy. As part of that core mission, SFA is dedicated to

furthering public understanding among members, policy makers,

consumer and business advocacy groups, and other constituencies about

structured finance, securitization, and related capital markets.



1 SFA affirms that no counsel for a party authored this brief in whole or

in part and that no person other than SFA, its members, or its counsel
has made any monetary contributions intended to fund the preparation
or submission of this brief. See Fed. R. App. P. 29(a)(4)(E).

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     SFA is uniquely positioned to address the scope of the Consumer

Financial Protection Bureau’s authority over securitization trusts. While

SFA’s members play diverse roles and have varying perspectives on

securitization transactions, all members have a strong interest in

ensuring that the multi-trillion dollar U.S. securitization market is not

materially disrupted.

                       SUMMARY OF ARGUMENT

     The legal question before this Court is critically important to the

U.S. securitization industry. Securitization is a type of financing that

increases the flow of capital into the U.S. economy so Americans can

finance purchases, such as homes, automobiles, and college tuition, at a

lower cost. Securitization does this by transforming individual consumer

loans into tradeable financial instruments, i.e., securities, that are more

readily sold to bond investors. The process benefits consumers and

investors. It increases the availability of credit to consumers. And it

creates investments that asset managers with a fiduciary responsibility

can buy to match their clients’ investment objectives and risk tolerance,

while at the same time providing diversification alternatives to equity

and other fixed-income markets. As a result of the industry’s success,


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today securitization represents approximately a quarter of the entire

bond market and finances $11.9 trillion, or roughly three-quarters, of the

$15.6 trillion of total household debt.2 As such, securitization provides

essential credit to families and individuals, and there are more low-risk

bond options for institutional investors to grow their clients’ savings.

     The ruling below has the potential to materially disrupt this critical

market. The specific issue presented in this appeal concerns the reach of

a powerful federal financial regulator called the Consumer Financial

Protection Bureau. Congress created the Bureau in the aftermath of the

Great Recession to ensure fair, transparent, and competitive markets for

consumer financial products and services. In service of that mission,

Congress granted the Bureau “potent” enforcement power to prevent

“covered persons” from committing unfair, deceptive, or abusive acts or

practices. See Selia Law v. Consumer Financial Protection Bureau, 140

S. Ct. 2183, 2193 (2020). Status as a covered person is thus a precondition



2 Sec. Indus. & Fin. Mkts. Ass’n, US MBS      Issuance and Outstanding
(Sept. 7, 2022), https://www.sifma.org/resources/research/us-mortgage-
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https://www.sifma.org/resources/research/us-asset-backed-securities-
statistics/.

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to the Bureau’s exercise of one of its most important enforcement

powers—the UDAAP prohibition—in most cases.

     Yet, no federal appellate court has interpreted the term “covered

person.” Congress provided the following definition in the Consumer

Financial Protection Act: a “covered person” is a person that “engages in

offering or providing a consumer financial product or service.” 12 U.S.C.

§ 5481(6). The district court ruled that a person need not directly

participate in offering or providing a consumer financial product or

service to “engage” in the activity. Rather, the court held that the term

“engage” means “to embark in any business” and that it is “broad enough

to encompass actions taken on a person’s behalf by another, at least where

that action is central to his enterprise.” Mem. Op., Consumer Fin.

Protection Bureau v. Nat’l Collegiate Master Student Loan Trust, No. 17-

cv-1323-SB, Dkt. 380 at 8 (D. Del. Dec. 31, 2021) (hereinafter, “Mem.

Op.”) (emphasis added).

     The defendants in this case are Delaware statutory securitization

trusts. Like most trusts established as part of a securitization

transaction, they are special purpose financing vehicles. Such vehicles

have no employees or operations; they do not do anything. Their purpose


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is to hold assets to facilitate the financing of those assets by bond

investors. Yet the district court ruled that the defendant trusts “engage”

in offering or providing a consumer financial product or service because

they entered into contracts with independent service providers (i.e., loan

servicers) to perform services that the trusts had no way to perform

themselves: collect payments and debt on the student loans owned by

the trusts. Id. at 8–9.

      That is a legal error with grave consequences for the multi-trillion

dollar U.S. securitization market. For the reasons below, this Court

should reject the district court’s interpretation of “covered person.”

      First, SFA will explain how securitizations are structured and

summarize the basic mechanics behind the student loan securitizations

at issue in this case. At bottom, securitizations are carefully considered

transactions whose primary purpose is to isolate pooled assets and

allocate risk. See Section I.

      Second, SFA will explain how the district court’s ruling upsets that

fundamental premise. By attributing the conduct of a loan servicer to a

securitization trust, the district court’s ruling subjects the trusts (and, by

extension, the trusts’ assets held for the benefit of bond investors) to the


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Bureau’s UDAAP enforcement authority, thereby disrupting the

contractual expectations investors have in these types of investments.

That expectation comprises a key aspect of the industry’s success. See

Section II.

     Third, the case law, statutory context, and federal policy support

interpreting “covered person” to require direct participation in offering or

providing a consumer financial product or service. The district court’s

ruling to the contrary was an error. See Section III.

                              ARGUMENT

I.   SECURITIZATIONS ARE DESIGNED TO ISOLATE AND
     ALLOCATE RISK.

     A.       The Mechanics of Securitization.

     A key distinction of securitization, as compared to other financing

transactions, is that it permits a pool of loans to be isolated and then

deliberately allocates risks among the participants in the transaction. To

illustrate this feature, we describe below the mechanics of a typical

consumer securitization.

     Broadly speaking, securitization is the pooling of assets that

generate regular cash flows into a special purpose vehicle, often a trust;

the trust issues securities to bond investors; and the cash flows generated

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by the trust’s assets fund the interest and principal payments to the

investors. The types of assets pooled into securitization vehicles vary

widely. Some of the most common assets include residential real estate

mortgages, commercial real estate mortgages, credit card receivables or,

as in this case, student loans.

     The securitization process begins with a “sponsor.” The sponsor is

responsible for identifying or “designating” the loans to be included in the

pool of assets, which is referred to as the “collateral pool.” The sponsor is

often the financial institution that originated the loans. However, the

sponsor can also be an affiliate of the originating financial institution or

a separate entity that has purchased the loans from the originating

financial institution.

     Next, the sponsor sells the collateral pool to an “issuer.” The issuer

has no say in the loans designated for inclusion in the collateral pool. The

issuer is a special purpose vehicle with no employees, officers, directors,

or operations. The issuer acts only by operation of law, by operation of

contract (transaction indenture), or by instruction from transaction

parties with authority to direct the issuer.




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     In the vast majority of consumer loan securitizations, the issuer is

a trust—not an LLC, corporation, or other type of legal entity. Trusts are

well-suited for the role of issuer because a trust is permitted to act as a

passive owner for the assets deposited into it. Here, the defendant trusts

are Delaware statutory trusts governed by the Delaware Statutory Trust

Act. See Joint Br. for Appellants, Dkt. 33, at 1. Importantly for the

securitization industry, under the Delaware Statutory Trust Act,          a

statutory trust, may, but need not, engage in any business activity at all.

Rather, it may, among other permitted purposes, be organized “for the

purpose of holding or otherwise taking title to property, whether in an

active or custodial capacity” Del. Code Ann. tit. 12 § 3801(i).

     The issuer then sells interest-bearing securities to bond investors,

typically through an investment bank underwriter. A portion of the

proceeds received from the sale of the securities to investors is collected

by the issuer and paid to the sponsor in exchange for the securitized

loans. The sponsor often will use the cash proceeds generated from the

sale of such securities to (1) make new consumer loans (if the sponsor is

the originating financial institution), or (2) buy new consumer loans from

other originating financial institutions (if the sponsor is not the


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originating financial institution). In essence, the issuer is a financing

vehicle for sponsors that raises capital for future loans or for other

business capital needs.

     Investors in consumer securitizations are generally paid as follows:

the funds from the consumers’ payments on their loans are used to pay

the amounts owed to the investors who own the securities. The priority

and manner of payments to investors is prescribed by contract. The

securities are often divided into tranches or classes, each with its own

payment terms as well as a specified ranking as to the priority in which

each tranche will receive payments of, or be allocated losses on, the

underlying assets. Generally, the most senior tranches have first priority

to receive distributions after pre-determined expenses of the issuer and

interest on the bonds have been paid. Due to the lower risk profile for the

most senior tranches, these securities are typically triple-A rated by one

or more credit rating agency signifying that they present a relatively low

risk of default. This makes senior tranches a suitable investment option

for more conservative investment objectives. Thus, investors in senior

tranches of consumer loan securitizations generally include a broad




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range of institutional investors such as insurance companies, pension

funds, banks, and other investment funds.

     At the other end of the risk spectrum is the residual, equity, or

ownership interest.3 These interest holders are paid last in the waterfall

and thus have the most risk. Residual interest holders are also the first

to absorb credit losses on the underlying trust assets—often referred to

as the “first loss position”—and therefore are most exposed to default

risk. By absorbing losses before more senior tranches, residual interests

and any subordinated classes of bonds provide credit enhancement4 to

the senior tranches, reducing the volatility of distributions and risk

associated with the senior tranches.

     After    the      securitization        transaction    closes,    oversight,

administration, and management of the issuer and its assets are

performed by various parties, including trustees, servicers, and

administrators. Trustees are typically banks appointed by the issuer to


3 See, e.g., JASON H.P. KRAVITT & CHRISTINE VINCENT, SECURITIZATION OF

FINANCIAL ASSETS § 2.01 (3rd ed. Supp. 2022) (defining “residual
interest” as “the most subordinated claim on a pool of securitized assets”).
4  Credit enhancement is a risk-reduction method that provides
protection, in the form of financial support, to help cover losses on
securitized assets.

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perform limited administrative duties relating to the securities and to

enforce certain provisions of the securitization agreements, all as

specifically enumerated in the relevant trust agreements and indentures.

There are different types of trustees, including indenture trustees and

owner trustees. Servicers interact and communicate with borrowers,

collect and process payments on the underlying assets, and handle

delinquent and defaulted assets. Servicers also remit the payments they

collect to the trustee for distribution to investors, as prescribed in the

transaction      documents.      And     administrators       handle         certain

administrative functions and corporate management services on behalf

of the issuer.

      A summary of the parties to a securitization transaction is set forth

in the following table:

Party                Role in Securitization
Originator           Originators generate the assets to be securitized
                     (e.g., by making loans to borrowers).
Sponsor              The sponsor—often the same entity as the
                     originator—identifies and pools the assets to be
                     securitized before selling them to the issuer.
Issuer               The issuer—usually a trust—purchases the assets,
                     then sells securities backed by the assets to third
                     party investors. These securities are typically
                     separated into different classes or tranches and
                     each tranche is typically assigned a rating, by at


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Party             Role in Securitization
                  least one credit rating agencies, that indicates its
                  creditworthiness.
Underwriter       The underwriter organizes and markets the
                  securitization’s securities for sale to third-party
                  investors, and often sells the securities as well.
Bond Investor     Bond investors purchase the securities and are
                  therefore entitled to receive principal repayments
                  and interest based on cash flows generated by the
                  assets in the collateral pool.

                  How and when investors are paid, or are allocated
                  losses resulting from the performance of the asset
                  pool, depends on which tranche or class of securities
                  have been purchased by the investor.
Trustee           Trustees are banks appointed by the issuer (usually
                  a trust) to perform limited administrative duties
                  relating to the securities and to enforce certain
                  provisions of the securitization agreements.
                  Trustees generally oversee the disbursement of cash
                  flow to investors pursuant to the securitization
                  waterfall.
Indenture         Indenture Trustees administer the trust that issues
Trustee           the classes or tranches of securities that are sold to
                  investors, pursuant to an indenture, and, under
                  specified conditions, act on behalf of the investors.
Owner Trustee     Owner Trustees administer the trust that issues
                  certificates representing beneficial ownership
                  interests in the issuer’s equity, and, under specified
                  conditions, act on behalf of the residual interest
                  holders (i.e., parties that purchase or retain the
                  certificates).
Servicer          Servicers provide payment collections services and
                  remit payments they collect to the trustee.
Administrator     Administrators typically consist of a trustee or
                  affiliate of the sponsor that handles certain
                  administrative functions and corporate
                  management services on behalf of the issuer.
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Party               Role in Securitization
Residual            Residual interest holders, who hold certificates
interest holders    representing beneficial ownership interests in the
                    issuer, typically occupy the most junior position in
                    the securitization waterfall, and as such, are
                    generally first to absorb losses and are paid only the
                    “residual” cash flow (if any).

     B.    Securitization Allocates Risk, Not Eliminates Risk.

     Unlike equity securities and corporate bonds, a distinguishing

feature of securitizations is that they limit investment risk and reward

to the performance of the pooled assets. The purpose of selling the loans

to an issuer-trust is to legally separate (i.e., isolate) the assets from the

bankruptcy risk introduced by the sponsor. Specifically, the sponsor’s

true sale of consumer loans to the issuer-trust protects investors from the

credit risk of the originator and the sponsor, which includes their

potential insolvency. In addition, a traditional securitization trust, like

defendants in this case, is a newly-formed entity, with no assets other

than the designated loans and no liabilities, employees, operations, or

operating history. The trusts cannot and do not have the authority to

undertake any specific action in connection with the assets they hold.

Rather, in accordance with the transaction documents and the negotiated

expectations of the parties, typically the trustee, on behalf of the trust,


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contracts with third parties to perform all servicing functions necessary

to administer the assets they hold. These features of a trust allow

investors to take on only the risk and reward of the performance of the

pooled assets. But, importantly, they also mean that investors can look

only to the collateral pool for repayment of their investment in the

securitization.

     The process of securitization does not eliminate legal risk or allow

transaction parties, including third party service providers, to evade

responsibility for regulatory violations related to the pooled assets.

Rather, those risks are allocated on a known basis to the transaction

parties: the originator retains liability for regulatory violations during

the origination of the loans, the trustee retains liability for errors during

the performance of its limited duties, and the servicer retains liability for

regulatory violations during the servicing of the loans. The critical point

is that the assets backing the securities sold to investors are insulated

from those risks, which means the investors in the securities issued by the

trusts also are insulated from those risks. That essential feature is what

allows securitization to take an individual loan between a consumer and




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a lender and turn it into a liquid financial instrument that serves as an

investment vehicle for investors across the global economy.

II.   THE LEGAL STANDARD ADOPTED BY THE DISTRICT
      COURT WOULD HARM INVESTORS AND INCREASE
      COSTS FOR CONSUMERS.

           A.    Securitization Plays a Key Role in the National
                 Economy.

      Securitization as a financial practice dates back to the 1970s,

beginning with the third-party financing of pools of mortgages.5 Prior to

this, banks issuing loans would typically engage in portfolio lending—i.e.,

holding loans until they matured or were paid off. However, the portfolio

lending model suffered from a number of disadvantages. Under the

portfolio lending model, a bank’s funds available for loans were limited

by the financial institution’s deposits and debt, which created a necessary

limitation on the number and amount of loans offered and therefore how

competitive loan terms would likely be. The portfolio lending model also

potentially exposed lenders to high levels of risk, as financial institutions



5 Office of the Comptroller of the Currency, Asset Securitization:
Comptroller’s Handbook 2 (Nov. 1997) [hereinafter Comptroller’s
Handbook],                   https://www.occ.treas.gov/publications-and-
resources/publications/comptrollers-handbook/files/asset-
securitization/pub-ch-asset-securitization.pdf.

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that issued loans to various segments of borrowers in different markets

and geographic areas would necessarily be exposed to significant

financial risk if those particular segments of borrowers, markets, or

geographic areas experienced an economic downturn. The development

of securitization mitigated these risks for banks, and also allowed banks

to transfer credit risks from customer lending to the broader financial

system by expanding the investor base for such loans.6

     Securitization has other benefits too. It benefits bank and non-bank

sponsors by providing access to the capital markets to finance consumer

lending whereby a large portion of the securitization bonds they sell can

“obtain higher [bond credit] ratings than if such companies were to obtain

a traditional loan,” thus reducing the cost of borrowing.7 It benefits

investors by enabling investment in different types of assets without

exposure to the credit risk of the sponsor. While securitizations are an


6 U.S. Dep’t of the Treasury, A Financial System That Creates Economic

Opportunities: Capital Markets 18 (Oct. 2017) [hereinafter Treasury
Report], https://home.treasury.gov/system/files/136/A-Financial-System-
Capital-Markets-FINAL-FINAL.pdf.
7 American Bar Association, Introduction to Securitizations (Jan. 27,
2022),
https://www.americanbar.org/groups/business_law/publications/blt/2022
/02/securitizations/

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appealing investment opportunity to a broad range of investors, the

“diversification benefits, liquidity, and yield” of these investments are

particularly attractive to institutional investors who manage money for

pension plans, mutual funds and other savings plans.8 Moreover,

securitizations offer investors a high degree of flexibility, because the

securities issued by the issuer-trust can be structured to meet investors’

differing asset diversification, risk, and duration requirements.9

         Student lending benefits significantly from securitization. For the

2021-2022 academic year, the average cost of one year at a four-year

private college was $51,690.10 Likewise, the average annual costs for an

in-state and out-of-state student at a public university were $22,690 and

$39,510, respectively.11 Due to the high cost of post-secondary education,

30% of all adults incurred at least some debt for their education, with




8 Id.


9 Comptroller’s Handbook, supra note 5, at 4.


10 College Bd., Trends in College Pricing and Student Aid 2021 at 10

(2022),       https://research.collegeboard.org/media/pdf/trends-college-
pricing-student-aid-2021.pdf. This figure is inclusive of tuition, fees, and
room and board.
11 Id.


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outstanding student debt in the United States amounting to

approximately $1.59 trillion in total.12 Federal student loans are limited

to a certain dollar amount, an amount dependent upon factors such as

the school and type of borrower.13 Thus, private student loans are often

the only option available to cover tuition costs above federal loan limits.

     Student loans, however, present challenges and risks for lenders

that distinguish them from other forms of consumer debt. These include

the significant time lag between loan advances and repayment, the

counter-cyclical nature of student borrowing, and the student borrowers’

lack of certainty in finding a stable, reliable source of funds to repay loans

after graduation.14 Through the process of securitization, lenders can



12 Bd. of Governors of the Fed. Reserve Sys., Economic Well-Being of U.S.

Households         in        2021         71         (May         2022),
https://www.federalreserve.gov/publications/files/2021-report-economic-
well-being-us-households-202205.pdf; Fed. Reserve Bank of N.Y.,
Quarterly Report on Household Debt and Credit, 2022: Q2 1 (Aug. 2022),
https://www.newyorkfed.org/microeconomics/hhdc.
13 See U.S. Dep’t of Educ. Fed. Student Aid Office, The US Department of

Education Offers Low-Interest Loans to Eligible Students to Help Cover
the Cost of College or Career School (last visited Sept. 29, 2022),
https://studentaid.gov/understand-aid/types/loans/subsidized-
unsubsidized#how-much.
14 Office of the Comptroller of the Currency,
                                          Comptroller’s Handbook:
Student Lending 5 (May 2016), https://www.occ.gov/publications-and-
                              18
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partly offset these risks by allocating the risk to groups of third parties,

thus allowing lenders to provide student borrowers with access to more

loans at lower interest rates.

     Securitization also benefits the national economy, including

facilitating efficient access to capital markets, minimizing issuer-specific

limitations on the ability to raise capital, and monetizing illiquid assets.

For these reasons, securitization has become a fundamental source of

capital to support the national economy. As of the end of the fourth

quarter of 2021, securitization provided $11.9 trillion in funding for

consumer loans.15 This represents 76% of the $15.6 trillion of total

household debt.16 The volume of securities issuances also provides

another means of demonstrating the prevalence of securitization in the



resources/publications/comptrollers-handbook/files/student-lending/pub-
ch-student-lending.pdf.
15 Sec. Indus. & Fin. Mkts. Ass’n, US MBS     Issuance and Outstanding
(Sept. 7, 2022), https://www.sifma.org/resources/research/us-mortgage-
backed-securities-statistics/; Sec. Indus. & Fin. Mkts. Ass’n, US ABS
Issuance       and         Outstanding       (Sept.      7,      2022),
https://www.sifma.org/resources/research/us-asset-backed-securities-
statistics/.
16 Fed. Reserve Bank of N.Y., Quarterly Report on Household Debt and

Credit,       2022:         Q2        1        (Aug.                      2022),
https://www.newyorkfed.org/microeconomics/hhdc

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economy. In 2021, there were over $4 trillion in new mortgaged-backed

securities and asset-backed securities issuances, of which $33 billion

were new issues of student loan securitizations.17 With respect to student

loans specifically, approximately $143 billion of student loan debt is

currently securitized as of the fourth quarter of 2021.18

         The high level of securitization in the economy has allowed for

significant investment into lending markets. The fact that $11.9 trillion

of household debt is currently financed by securitization represents

trillions of dollars in loans that might not have otherwise been made

available to borrowers without the access to funding provided by

securitization.     The    U.S.   government        has   expressly     described

securitization as “a vital financial tool to facilitate growth in our domestic




17 Sec. Indus. & Fin. Mkts. Ass’n, US MBS     Issuance and Outstanding
(Sept. 7, 2022), https://www.sifma.org/resources/research/us-mortgage-
backed-securities-statistics/; Sec. Indus. & Fin. Mkts. Ass’n, US ABS
Issuance       and         Outstanding       (Sept.      7,      2022),
https://www.sifma.org/resources/research/us-asset-backed-securities-
statistics/.
18 Id.


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economy,” and has stated that securitization should be viewed “as a

byproduct of, and safeguard to, America’s global financial leadership.”19

             B.   The District Court’s Covered Person Ruling
                  Misunderstands the Trust’s Role and Poses a
                  Material Threat to the Securitization Market.

      The Consumer Financial Protection Act defines “covered person” as

“any person that engages in offering or providing a consumer financial

product or service.” 12 U.S.C. § 5481(6). The district court ruled that the

defendant securitization trusts are such a person because they

“‘embark[ed] in the business’ of collecting debt and servicing loans when

they contracted with the servicers and subservicers to collect their debt

and service their loans.” Mem. Op. at 8.

      The district court misunderstands the role of the trust in a

securitization. Securitization is not a joint venture among the

participants to engage in business. Rather, the issuer-trust is a financing

vehicle. It has no business. It is a special-purpose entity that owns assets,

as expressly permitted by Delaware law. See Del. Code Ann. tit. 12

§ 3801(i).




19 Treasury Report, supra note 6, at 91.


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     True, the consumer loans backing the bonds must be serviced so

that investors can be paid. But that does not mean the trust itself

“embarked in the business” of servicing consumer loans. Again taking the

dairy farmer analogy, many services are “central” to a dairy farmer’s

business. But a dairy farmer is no more engaged in the trucking business

because it must hire a trucking company to transport its milk to

customers, than an issuer-trust is engaged in the servicing business

because it must hire a loan servicer to collect payments from borrowers.

     If this Court adopts the district court’s interpretation of “covered

person” under the Act, it will pose a material threat to the U.S.

securitization market. SFA does not take that position lightly. At its core,

the district court’s ruling exposes the issuer-trust—and its assets—to the

regulatory risk of the loan servicer. In so doing, the ruling strikes at the

foundational principle of securitization: the isolation of the issuer-trust’s

assets so that bond investors participate in only the performance risk of

the assets themselves—not the alleged wrongdoings of a third-party

servicer.

     Disrupting this core feature of consumer loan securitizations will

have many negative consequences. The ruling exposes the issuer-trust,


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its assets, and its investors to unexpected and unpredictable legal costs

and damages. According to Fitch Ratings, “[s]uch losses and legal

expenses to defend related claims are not predictable and therefore

cannot be accounted for quantitatively in the rating analysis.”20

         These unpredictable and asymmetric risks will cause bond credit

ratings to become more volatile as ratings agencies struggle to predict

and quantify the risk that the Bureau could sue issuer-trusts for

regulatory violations committed by loan servicers.21

         Additionally, bond investors will find it difficult to protect their

interests in this environment. For one, trustees and investors, as

compared to the originator and servicer of the underlying loans, lack

access to, responsibility for, and knowledge of actions and information

surrounding origination and servicing, making it very difficult to defend

against claims asserted in relations to the actions of these third parties.

For another, in a securitization structure, any litigation settlement that



20 Fitch Ratings, NCSLT Ruling Could Be Negative for US Consumer

Structured           Finance,          (Feb.         8,           2022),
https://www.fitchratings.com/research/structured-finance/ncslt-ruling-
could-be-negative-for-us-consumer-structured-finance-08-02-2022.
21 Id.


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would impact the trust assets typically requires unanimous consent of all

current bond investors. But securitization bonds are often widely

distributed with upwards of many tens to hundreds of investors.

Moreover, due to the fact that securitization bonds are actively traded,

combined with investor privacy regulations, simply identifying and

communicating with bond investors in a securitization is very

challenging and time consuming. Together with the fact that different

tranches of bonds have different priority over trust cashflow, achieving

unanimous     consent    regarding     litigation   strategy     is   practically

impossible.

     All these factors will lead bond investors, trustees and other

transaction parties to charge higher prices to cover these new risks or

potentially not participate at all. For example, low risk investors may

find the uncertainty and potential magnitude surrounding these risks too

great to invest at any price—especially as senior rated bonds are often

sought by investors in part due to their cash flow predictability and low

expected default risk. As a result, not only will the higher prices charged

by some investors and the lack of participation by others lead to increased

borrowing cost for consumers seeking to fund essential purchases, but


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the $11.9 trillion of funding securitization provides to American

households will be materially reduced.

       Furthermore, in the event the Bureau “sue[s] trusts over servicers

that run afoul of consumer protections, legal costs and potential damages

will rise, exposing investors to additional risk.”22 If any legal fees and

damages are paid using the issuer-trust assets, those costs will be borne

by the investors, including pension fund and retirement plans. In effect,

the district court’s ruling could result in legal expenses and liability for

wrongdoings of third-party servicers being passed down to Americans

saving for retirement.

III.   A COVERED PERSON MUST DIRECTLY PARTICIPATE
       IN OFFERING OR PROVIDING A CONSUMER
       FINANCIAL PRODUCT OR SERVICE.

       A covered person includes “any person that engages in offering or

providing a consumer financial product or service.” 12 U.S.C. § 5481(6).

The district court held that an entity qualifies as a covered person if it

“embarks in” the business of offering or providing a consumer financial



22 Moody’s Investors Service, CFPB’s step forward in trust suit spurs risks

across        consumer       securitizations,     (Feb.       28,
2022), https://www.moodys.com/researchdocumentcontentpage.aspx?do
cid=PBC_1318913.

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product or service. Mem. Op. at 8. Direct participation by the entity is

not required. Id. Rather, the court held that the word “engage” as used

in the statutory definition “is broad enough to encompass actions taken

on a person’s behalf by another, at least where that action is central to

his enterprise.” Id.

     For three reasons, this Court should reject the district court’s

interpretation of “covered person.” It is unsupported by the law. It is

contrary to the statutory context. And, it disregards the common law of

agency in favor of a far broader rule. This Court should instead interpret

“covered person” to require direct, active, or personal involvement in

offering or providing a consumer financial product or service.

     A.    The District Court’s Interpretation of Covered
           Person Lacks Legal Support.

     The district court correctly framed the legal issue now before this

Court: the fate of the Bureau’s Amended Complaint “boils down to the

breadth of the word ‘engage.’” Mem. Op. at 8. Yet, the district court

limited its analysis of that question to a selective reading of the

dictionary definition of that word. That was an error. “Engage” has

several definitions, including “to embark in any business,” to “employ

oneself in action,” to “involve oneself,” and “to take part in.” See id. at 8

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(quoting Oxford English Dictionary (2d ed. 2000) and Black’s Law

Dictionary (11th ed. 2019)). The district court based its ruling on one of

these definitions—“to embark in any business”—while ignoring other,

more natural readings such as to “employ oneself in action.” See Mem.

Op. at 8-9 (emphasis added).

     Interpreting “engage” to require direct participation in the activity

at issue is consistent with judicial interpretations. Just last term, the

Supreme Court interpreted the scope of the Federal Arbitration Act’s

exemption for a “class of workers engaged in foreign or interstate

commerce.” See Sw. Airlines Co. v. Saxon, 142 S. Ct. 1783 , 1784(2022).

The Court ruled that “any class of workers directly involved in

transporting goods across state or international borders falls within” the

exemption. Id. at 1789. The Court’s holding built on its prior decision in

Circuit City Stores, Inc. v. Adams, 532 U.S. 105 (2002). There, the Court

indicated that the class of workers subject to the exemption “must at least

play a direct and ‘necessary role in the free flow of goods’ across borders”

and “must be actively ‘engaged in transportation’ of those goods across

borders via the channels of foreign or interstate commerce.” Saxon, 142

S. Ct. at 1790 (quoting Circuit City, 532 U.S. at 121) (emphasis added).


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      Other courts have likewise interpreted the term “engage” to mean

direct, active, or personal involvement. See Haro v. City of Los Angeles,

745 F.3d 1249, 1257 (9th Cir. 2014) (reasoning that “to engage in fire

suppression” refers to “those who are dispatched to the fire scene and

actively engage the fire.”); In re Thurmon, 625 B.R. 417, 422 (Bankr. W.D.

Mo.   2020)   (interpreting   “engaged     in”   in   the   Small    Business

Reorganization Act to mean “to be actively and currently involved”); I-L

Logging Co. v. Mfrs. & Wholesalers Indem. Exch., 273 P.2d 212, 216–17

(Ore. 1954) (interpreting “engaged in the employment” in insurance

policy to mean “active in the work which the plaintiff was employed and

paid to perform”); Taylor v. Prudential Ins. Co. of Am., 253 N.Y.S. 55, 59

(N.Y. Sup. Ct. 1931) (interpreting “engaged in aviation operations” in

insurance policy to mean “taking part in the operations of an airplane in

some direct way”). We have identified no authority that adopts the

district court’s contrary interpretation of that term.

      B.   Statutory Context Demonstrates That a Covered
           Person Must Directly Offer or Provide the Consumer
           Financial Product or Service.

      Statutory terms must be interpreted in context. See, e.g., Allen v.

LaSalle Bank, 629 F.3d 367 (3d Cir. 2011); Siluk v. Merwin, 783 F.3d


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421, 427 (3d Cir. 2015). The statutory context of the Act supports

delimiting covered persons to persons that directly offer or provide a

consumer financial product or service.

      As background, there are three types of persons covered under the

Act, each subject to different obligations under the statutory scheme.

Beginning with the broadest category, the Act defines “person” to mean

“an   individual,      partnership,     company,    corporation,     association

(incorporated or unincorporated), trust, estate, cooperative organization,

or other entity.” 12 U.S.C. § 5481(19). Next, a “covered person” is a subset

of persons that “engage[] in offering or providing a consumer financial

product or service.” Id. § 5481(6). Last, a “service provider” and “related

person” are another subset of persons that have an indirect role in the

business of a covered person. A “service provider” is defined as “any

person that provides a material service to a covered person in connection

with the offering or provision by such covered person of a consumer

financial product or service.” 12 U.S.C. § 5481(26) (emphasis added). A

“related person” includes, for example, a “controlling shareholder,” or

“consultant” or “joint venture partner” who “materially participates in

the conduct or the affairs of such covered person.” Id. at § 5481(25)(C)(ii)


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(emphasis added). Only covered persons, service providers, and related

persons are subject to the Act’s UDAAP prohibition. See id. § 5536(a)(1).

     The district court’s ruling turns this statutory construct on its head.

It holds that a non-covered person is deemed to be a covered person solely

because it contracts with a covered person. That is like saying a

homeowner who hires a painter for his home—an asset he owns and must

maintain—is now a painter.

     That is not how Congress intended the Act to work. Rather, the

statutory context demonstrates that Congress intended the UDAAP

prohibition to cover (1) persons that have a direct and personal

involvement in offering or providing consumer financial products or

services (i.e., covered persons), and (2) persons that have a substantial

role in the affairs of those covered persons (i.e., service providers, related

persons). A typical securitization trust fits neither category. The trust

does not directly and personally service the assets it owns. And the trust

does not provide any services to, or play any role in the affairs of, loan

servicers.

     Further, the district court’s interpretation of “engage” to mean

“embark in any business” is at odds with how that word is used elsewhere


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in the Act. See United States v. Torres, 383 F.3d 92, 102 (3d Cir. 2004)

(“As a general canon of construction, the same words in the same statute

are interpreted in the same way.”). To give just a few examples, the Act:


             prohibits a covered person from “engag[ing] in
              any unfair, deceptive, or abusive act or
              practice,” 12 U.S.C. § 5536(a)(1)(B);

             authorizes investigations “for the purpose of
              ascertaining whether any person is or has been
              engaged in any conduct that is a violation” of
              Federal consumer financial law, id. § 5561(1);

             authorizes cease and desist orders where the
              Bureau determines that a covered person “is
              engaging or has engaged in an activity that
              violates a law, rule, or any condition imposed in
              writing on the person by the Bureau,” id.
              § 5563;

             authorizes the Bureau to impose civil money
              penalties of $25,000 for each day a person
              “recklessly engages in a violation of a Federal
              consumer financial law,” id. § 5565(c); and

             requires the Bureau to notify the Department of
              Justice if it obtains evidence that a person “has
              engaged in conduct that may constitute a
              violation of Federal criminal law,” id. § 5566.

     Congress’s use of the word “engage” throughout in the Act conveys

direct and personal involvement in an activity, not “embarking on a

business.” Being directly involved in an activity is also the most natural


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reading of “engage.” See Mem. Op. at 8 (holding that “‘Engage’ means ‘to

embark in any business’ or to ‘enter upon or employ oneself in an

action.’”) (emphasis added). That is the construction the Court should

adopt here.

     C.      The District Court’s Rule Supplants the Common Law
             of Agency and Risks Establishing Broad Vicarious
             Liability for Unfair and Deceptive Acts and Practices.

     In ruling that the word “engage” is “broad enough to encompass

actions taken on a person’s behalf by another, at least where that action

is central to his enterprise,” Mem. Op. at 8, the district court deemed the

defendant trusts “covered persons” based on one fact: the existence of a

contract between the trusts and a service provider. Id. This is a serious

error.

     It is well-established that Congress legislates against background

principles of common law. See Astoria Fed. Sav. & Loan Ass’n v.

Solimino, 501 U.S. 104, 108 (1991) (“Congress is understood to legislate

against a background of common-law adjudicatory principles”). In

general, the common law of agency is used to determine whether the legal

consequences of one person’s actions should be attributed to another

person. See RESTATEMENT (THIRD) AGENCY Ch. 2 Introductory Note.


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Importantly, agency requires control: “[a] relationship of agency is not

present unless the person on whose behalf action is taken has the right

to control the actor.” Id. § 1.01 cmt. (f). It is a fact-based assessment. Id.

§ 1.02. Agency thus “encompasses a wide and diverse range of

relationships and circumstances,” including “relationships between

employer and employee, corporation and officer, client and lawyer, and

partnership and general partner.” Id. § 1.01 cmt. (c). As relevant here,

merely entering into a contract to receive services from another is

insufficient to establish agency. Id. § 1.01 cmt. (f).

      The district court ignored these principles, instead fashioning a

statutory interpretation of “engage” that holds the defendant trusts

responsible for the activities of a service provider with no showing other

than the existence of a contract for services. But the court was not at

liberty to ignore common law principles of attribution and their

requirements. The Supreme Court instructs that “[i]n order to abrogate

a common-law principle the statute must speak directly to the question

addressed by the common law.” United States v. Texas, 507 U.S. 529, 534

(1992). This “common-law presumption canon . . . presumes that the

existing common law still applies unless the statute clearly indicates


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otherwise.” Arangure v. Whitaker, 911 F.3d 333, 342–43 (10th Cir. 2018);

see also Antonin Scalia & Bryan A. Garner, Reading Law: The

Interpretation of Legal Texts § 52 (2012).

     Congress’s use of the word “engage” is not enough to displace the

common law of agency for determining if a person should be deemed a

“covered person” based on the actions of another. “Engage” has several

commonly used meanings. See supra at __. And courts have consistently

interpreted that word to require direct, active, or personal participation

in the underlying activity. See, e.g., Saxon, 142 S. Ct. at 1789; Haro, 745

F.3d at 1257.

     What is more, interpreting “engage” to supersede the requirements

of agency law could have serious knock-on effects. Section 1036(a)(1)(B)

makes it unlawful for a covered person “to engage in any unfair,

deceptive, or abusive act or practice.” As noted, the general rule is that

the same statutory terms must be given the same interpretation. Torres,

383 F.3d at 102. If the district court’s interpretation of “engage” was

applied to the UDAAP prohibition in Section 1036, a principal would be

liable as a matter of law for the unlawful acts of its third-party service

providers, regardless of whether they are agents, so long as the acts were


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“central” to the principal’s enterprise. This Court should not adopt a

statutory construction of “covered person” that would displace hundreds

of years of agency law and materially expand vicarious liability under the

Act simply because Congress used the word “engage.”

     A final point. Delimiting covered persons to those who directly offer

or provide a consumer financial product or service is consistent with the

Bureau’s purposes and goals. In a securitization transaction, for example,

both the originator and the loan servicer directly provide a consumer

financial product or service. The originator extends credit to a consumer,

and the loan servicer collects payments and debt from the consumer.

Holding persons that directly provide these services responsible for their

own conduct (including any legal violations that occurred) is consistent

with the Bureau’s purpose of enforcing Federal consumer financial law.

It is also fair. The responsibility of persons that are not directly involved

in those activities should not be addressed through a legally unsupported

and strained reading of the statutory definition of “covered person.”

Rather, that question can be addressed as it often is in federal statutes:

by applying the common law.




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                             CONCLUSION

     This Court should reject the district court’s statutory interpretation

of “covered person” and reverse the district court’s denial of Appellants’

motion to dismiss.

                                           Respectfully submitted,

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Dated: September 30, 2022




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              CERTIFICATE OF BAR MEMBERSHIP

     Pursuant to Third Circuit Local Appellate Rule 46.1, I, Rachel

Rodman, hereby certify that I am a member in good standing of the bar

of the United States Court of Appeals for the Third Circuit.

                                           /s/ Rachel Rodman
                                           Rachel Rodman

Dated: September 30, 2022




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                 CERTIFICATE OF COMPLIANCE

     I, Rachel Rodman, Esquire, hereby certify that:

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by Fed. R. App. P. 32(a)(7)(B) because it contains 6,803 words, excluding

the parts of the brief exempted by Fed. R. App. P. 32(f);

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                                           Rachel Rodman
September 30, 2022




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             CERTIFICATE OF FILING AND SERVICE

     I, Rachel Rodman, Esquire, hereby certify that:

     On September 30, 2022, an electronic copy of this Brief of Amicus

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L.A.R. 31.1, 3d Cir. L.A.R. 113.1(a), ten copies of the Brief of Amicus

Curiae Structured Finance Association are being dispatched to the

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                                             /s/ Rachel Rodman
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